                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   Nashville Division

 L.W., by and through her parents and next
 friends, Samantha Williams and Brian
 Williams, et al.,

                 Plaintiffs,                         Civil No. 3:23-cv-00376

 and                                                 Judge Richardson

 UNITED STATES OF AMERICA,                           Judge Newbern

                  Plaintiff-Intervenor,

         v.

 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General
 and Reporter, et al.,

                 Defendants.



      PLAINTIFFS’ UNOPPOSED MOTION TO (I) STRIKE THE UNREDACTED
DECLARATION OF DAVID BETHEA, ESQ. IN SUPPORT OF PLAINTIFFS’ REPLY IN
    SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AT ECF NO. 145;
 (II) PUBLICLY FILE A REDACTED VERSION OF THE BETHEA DECLARATION;
 AND (III) FILE UNDER SEAL PORTIONS OF THE BETHEA DECLARATION AND
                      EXHIBITS ATTACHED THERETO

       Plaintiffs hereby move for leave to (i) strike the unredacted Declaration of David Bethea,

Esq. in Support of Plaintiffs’ Reply in Support of Motion for Preliminary Injunction [ECF No.

145] (the “Bethea Declaration”), (ii) publicly file a redacted version of the Bethea Declaration,

and (iii) file under seal (a) Exhibits A, B and C, attached to the Bethea Declaration in their entirety;

and (b) an unredacted version of the Bethea Declaration.

       On June 1, 2023, Plaintiffs filed the Bethea Declaration with three partially redacted

documents attached as Exhibits A, B, and C thereto. Shortly after the Bethea Declaration was



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filed, Plaintiffs determined that Exhibits A, B, and C to the Bethea Declaration contain confidential

and sensitive information and agreed with Defendants that the documents should be treated as

Confidential pursuant to the Agreed Protective Order Regarding Confidential Information [ECF

No. 87] entered in this case and should therefore be sealed from the public record pursuant to the

terms of that Order.

       Given the foregoing, Plaintiffs now seek leave to (i) strike the unredacted Bethea

Declaration currently filed at ECF No. 145, (ii) publicly file a redacted version of the Bethea

Declaration, and (iii) file the confidential documents under seal, as well as an unredacted version

of the Bethea Declaration. The relief is necessary and narrowly tailed to protect the information

contained in the documents from public disclosure.

       Plaintiffs have conferred with Defendants and plaintiff-intervenor the United States of

America, and no party opposes the relief sought in this motion.

       Accordingly, Plaintiffs respectfully submit that the motion to seal should be GRANTED.




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Dated: June 7, 2023                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 7, 2023, the undersigned filed the foregoing motion to seal
via this Court’s electronic filing system, which sent notice of such filing to the following counsel
of record:

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